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                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    AUGUSTA DIVISION


JAIMEREPROSSER,

              Petitioner,

       v.                                                  CV 115-067
                                                           (Formerly CR 109-073)
UNITED STATES OF AMERICA,

              Respondent.

                                          ORDER



       After a careful, de novo review of the file, the Court concurs with the Magistrate Judge's

Report and Recommendation, to which no objections have been filed. Accordingly, the Court

ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion and

DISMISSES the instant motion filed pursuant to 28 U.S.C. § 2255.

       Further, a federal prisoner must obtain a certificate of appealability ("COA") before

appealing the denial of his motion to vacate. This Court "must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant." Rule 11(a) to the Rules

Governing Section 2255 Proceedings. This Court should grant a COAonly if the prisoner makes

a "substantial showing of the denial of a constitutional right." 28 U.S.C. § 2253(c)(2). For the

reasons set forth in the Report and Recommendation, and in consideration of the standards

enunciated in Slack v. McDaniel, 529 U.S. 473, 482-84 (2000), Petitioner has failed to make the
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requisite showing. Accordingly, the Court DENIES a COA in this case.1 Moreover, because

there are no non-frivolous issues to raise on appeal, an appeal would not be taken in good faith.

Accordingly, Petitioner is not entitled to appeal informa pauperis. See 28 U.S.C. § 1915(a)(3).

       Upon the foregoing, the Court CLOSES this civil action.

       SO ORDERED this J4my ofJuly, 2015, at Augusta, Georgia.


                                            HONOSUBtE J. RANDM, HALL
                                            UNITED^TATES DISTRICT JUDGE
                                           ^SOUTM^RN DISTRICT OF GEORGIA




         l"If the court denies a certificate, a party may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule 11(a)
to the Rules Governing Section 2255 Proceedings.
